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 "'-'AO 2458   (Rev. 06/05) Judgment in a Criminal Case
               Sheet I


                                            UNITED STATES DISTRICT COURT 

                          Western                                    District of                             Pennsylvania
           UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                 V.
               HARDY CARROLL LLOYD
                                                                             Case Number:                   09-320-1
                                                                             USMNumber:                     30707-068

                                                                             John A. Knorr, Esq.
                                                                             Defendant's Attorney
THE DEFENDANT:
x pleaded guilty to count(s)           One of the Indictment
                                       -------------------------------------------------------------------------
o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:

Title & Section                       Nature of Offense                                                     Offense Ended               Count
18 U.S.C. §922(g)(1)                  Possession of a firearm by a convicted felon                          5/27/09                     One




       The defendant is sentenced as provided in pages 2 through             _--=-7__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
   Count(s)
                ------------------------- Dis                        o   are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailingaddress until all fines, restitution, costs, and special assessments imposed by this judgment are fu lly paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material cnanges m economic circumstances.

                                                                             August 3,2010




                                                                           I Signature of Judge




                                                                            Gustave Diamond, United States District Judge
                                                                            Name and Title of Judge
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AO 2458      (Rev 06/05) Judgment in Criminal Case
             Sheet 2   Imprisonment
                                                                                                 Judgment    Page -,2=--_ of   7
DEFENDANT:                     Hardy Carroll Lloyd
CASE NUMBER:                   Criminal No. 09-320-1


                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

thirty (30) months at Count One of the Indictment. No fine. No costs.



    x The court makes the following recommendations to the Bureau of Prisons:
          1. The court recommends that defendant be incarcerated at an institution located as close as possible to Pittsburgh,
          Pennsylvania.
          2. The court recommends that defendant receive mental health treatment while he is incarcerated.


    X The defendant is remanded to the custody ofthe United States Marshal.

    DThe defendant shall surrender to the United States Marshal for this district:
          o	   at                                     a.m.     o    p.m.    on 

               as notified by the United States Marshal. 


    DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o	      before 2 p.m. on
       o	      as notified by the United States Marshal.
       o	      as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




      Defendant delivered on 	                                                       to

at 	 _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL


                                                                           By _________	~~~~__________-----------­
                                                                                          DEPUTY UNITED STATES MARSHAL
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AD 2458       (Rev. 06/05) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page _.;;.3_ of            7
DEFENDANT:                     Hardy Carroll Lloyd
CASE NUMBER:                   Criminal No. 09-320-1
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:


three (3) years at One of the Indictment



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of PrISons.
The defendant shall not commit another federal, state or local crime. 

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled 

substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests 

thereafter, as determined by the court. 

D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X	       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
D 	 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sneet of this judgment
     The defendant must comply with the standard conditionsthat have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission ofthe court or probation officer; 

  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of 

          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons enga&ed incriminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probatIOn officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the d~ft;ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 2458    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 3A - Supervised Release
                                                                                               Judgment-Page _   .....
                                                                                                                  4 _ of   7
DEFENDANT:                Hardy Carroll Lloyd
CASE NUMBER:              Criminal No. 09-320-1

                                     ADDITIONAL SUPERVISED RELEASE TERMS

1. Defendant shall not illegally possess a controlled substance.
2. Defendant shall not possess a firearm, ammunition, destructive device or any other dangerous weapon.
3. Defendant shall jlarticipate in a program of testing and, if necessary, treatment for substance abuse, said program approved
by the probation officer until such time as defendant is released from the program by the court. Further, defendant shall be
required to contribute to the costs of services for any such treatment in an amount determined by the probation officer but not
to exceed the actual cost. Defendant shall submit to one drug urinalysis within 15 days after bemg placed on supervision and
at least two periodic tests thereafter.
4. Defendant shall cooperate in the collection of DN A as directed by the probation officer.
5. Defendant shall submit his person, property, house, residence, vehicle, papers, business or place of employment to a
search conducted by a United States probation/pretrial services officer, at a reasonable time and in a reasonable manner,
based upon reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to
a search may be grounds for revocation. Defendant shall inform any other residents that the premises may be subject to
searches pursuant to this condition.
6. Defendant shall participate in a mental health assessment and/or treatment program approved by the probation officer,
until such time as defendant is released from the program by the court.
7. Defendant shall not host a website at any time while he is under supervision.
AO 245B
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           (Rev, 06/05) Judgment in a Criminal Case
           Sheet 5 Criminal Monetary Penalties
                                                                                                             Judgment -	 Page     5      of       7
DEFENDANT:                         Hardy Carroll Lloyd
CASE NUMBER:                       Criminal No. 09-320-1
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                                                                      Restitution
TOTALS            $ toO                                                     $                                   $


     The determination of restitution is deferred until _ _ _. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

o    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee 	                               Total Loss·                              Restitution Ordered                      Priority or Percentage




                                    $ _ _ _ _ _ _ _....:0:.,..
TOTALS                                                                              $-------~o~

o 	 Restitution amount ordered pursuant to plea agreement $
                                                                --------------------
o 	 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o 	 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          the interest requirement is waived for the         0       fine       0   restitution.

     o    the interest requirement for the        0   fine       0     restitution is modified as follows:



* Findings for the total amountoflosses are reguired under Chapters 109A, 110, II OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 2458    (Rev, 06/05) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                         Judgment - Page -:....6_ _ of       7
DEFENDANT:                  Hardy Carroll Lloyd
CASE NUMBER:                Criminal No. 09-320-1

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     D    Lump sum payment of $                             due immediately, balance due

                 not later than                                  , or 

           D     in accordance 
                                   E, or    D F below; or

B          Payment to begin immediately (may be combined with              DC,       D D, or      D F below); or

C     D    Payment in equal                    (e,g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e,g" 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X    Special instructions regarding the payment of criminal monetary penalties:
           Defendant shall pay to the United States a special assessment of $1 00, which shall be paid to the United States District Court
           Clerk forthwith.




Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminaJ monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of PrISons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

X    The defendant shall forfeit the defendant's interest in the following property to the United States:
     Defendant shall comply with the forfeiture allegation outlined in the indictment, which states that the ten firearms and ammunition
     identified in the indictment and set forth on page 7 of this Judgment are subject to forfeiture.


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
AD 245B      (Rev. 06/05) Case
                          Judgment2:09-cr-00320-AJS
                                   in a Criminal Case   Document 61 Filed 08/04/10 Page 7 of 7
             Sheet 6B    Schedule of Payments
                                                                                               Judgment-Page ---,7,-- of   7
DEFENDANT:               Hardy Carroll Lloyd
CASE NUMBER:             Criminal No. 09-320-1

                                          ADDITIONAL FORFEITED PROPERTY

Defendant shall forfeit to the United States his right, title and interest in the following property:
I. Bersa Thunder, .380 caliber pistol, serial #959068
2. Bersa Thunder, 9mm pistol, serial #826798
3. Saiga, 12 gauge shotgun, serial #08437561
4. Remington 870 shotgun, serial #AB519881 M
5. Marlin.3 57 Magnum rifle, serial #92052215
6. Ruger.22 rifle, serial #35342971
7. Ruger .357 caliber revolver, serial #17556065
8. Ruger .357 caliber revolver, serial #57375871
9. Bond Arms .45 caliber Derringer, serial #36544
JO.    Bersa Thunder .350 caliber pistol, serial #965223
J 1.   Ammunition
